Case 2:12-cr-06012-EFS   ECF No. 135   filed 09/11/12   PageID.576 Page 1 of 7
Case 2:12-cr-06012-EFS   ECF No. 135   filed 09/11/12   PageID.577 Page 2 of 7
Case 2:12-cr-06012-EFS   ECF No. 135   filed 09/11/12   PageID.578 Page 3 of 7
Case 2:12-cr-06012-EFS   ECF No. 135   filed 09/11/12   PageID.579 Page 4 of 7
Case 2:12-cr-06012-EFS   ECF No. 135   filed 09/11/12   PageID.580 Page 5 of 7
Case 2:12-cr-06012-EFS   ECF No. 135   filed 09/11/12   PageID.581 Page 6 of 7
Case 2:12-cr-06012-EFS   ECF No. 135   filed 09/11/12   PageID.582 Page 7 of 7
